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6    Attorneys for David A. Birdsell, Trustee
7                                       IN THE UNITED STATES BANKRUPTCY COURT
8                                            FOR THE DISTRICT OF ARIZONA
9    In re:                                                 (Chapter 7 Case)
10   LINDSEY HARDISON aka LINDSEY                           No. 2:14-bk-01152-EPB
     KILPATRICK aka LINDSEY HARDISON
11   KILPATRICK,                                            TRUSTEE’S AMENDED MOTION TO
                                                            COMPEL DEBTOR TO TURNOVER
12                       Debtor.                            ESTATE PROPERTY
13

14             David A. Birdsell, Chapter 7 Trustee, by and through his attorneys undersigned, herein moves this

15   Court for an Order compelling Debtor to turnover Estate property and comply with her duties. For his

16   Amended Motion, Trustee represents as follows:

17             1. This case was commenced by a voluntary Petition filed by Debtor under Chapter 7 on January

18   29, 2014 (“Petition Date”).

19             2. David A. Birdsell is the duly appointed and acting trustee of the Chapter 7 Estate (hereinafter

20   “Trustee”).

21             3. On or about August 14, 2015, Trustee filed his Motion to Compel Debtor to Turnover the

22   following property: a) Debtor’s 2013 federal income tax refund received post-petition in the amount of

23   $2,855.00 (“2013 Tax Refund”); and b) the Estate’s portion of Debtor’s 2014 federal and state income tax

24   refunds in the amount of $148.58 (“Tax Refunds”) (7.95% * [$673.00 federal refund + $1,197.00 state

25   refund]).

26             4. Debtor filed an Objection to Trustee’s Motion, and provided supporting documentation that

27   the Debtor’s 2013 tax refund was offset by the Department of Treasury.

28             5. Subsequently, Debtor provided Trustee with her Amended 2014 federal and state income tax
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 1   returns. Pursuant to the amended tax returns, Debtor is entitled to receive the following 2014 income tax
 2   refunds, of which the Estate’s share is 7.95%:
 3                                                         Refund Amount                  Estate’s share
 4                  a. Federal tax refund:                 $36,369.00                     $2,889.59
 5                  b. Arizona tax refund:                 $451.00                        $35.83
 6                  c. New York tax refund                 $14.00                         $1.11___________
 7                                                                                Total: $2,926.53
 8             6. Pursuant to 11 U.S.C. §521, the Debtor is required to "cooperate with the trustee as necessary
 9   to enable the trustee to perform the trustee's duties" and to "surrender to the trustee, all the property of the
10   estate". Pursuant to 11 U.S.C. §542, the Debtor has a duty to turn over the Estate’s portion of the
11   Debtor’s 2014 tax refunds in the amount of $2,926.53.
12             7. Trustee requests that that interest on the amount due, until paid, shall accrue at the rate set
13   forth in 28 U.S.C. §1961.
14             WHEREFORE, David A. Birdsell, Trustee, respectfully requests for an Order of this Court
15   directing:
16                       A.         Debtor to turn over to the Trustee the aggregate value of the Estate’s share of the
17                                  Debtor’s 2014 tax refunds in the amount of $2,926.53 within fourteen (14) days of
18                                  the date of the Order directing turnover;
19                       B.         That interest will accrue on the amount due at the rate set forth in 28 U.S.C.
20                                  §1961; and,
21                       C.         For such other and further relief as the Court deems just and proper.
22                       RESPECTFULLY SUBMITTED this 29th day of December, 2015.
23

24                                                         LANE & NACH, P.C.

25                                                         By /s/ JCS – 029750
                                                                   Adam B. Nach
26                                                                 Jonathan C. Simon
                                                                  Attorneys for Trustee
27

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     Phoenix, AZ 85016
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 1   Copy of the foregoing mailed first class mail to:
 2   Lindsey Hardison
     1319 E. Halifax
 3   Mesa, AZ 85203
     Debtor
 4
     COPY of the foregoing delivered via electronic notification to:
 5
     Adam E. Hauf
 6   Hauf Law, PLLC
     4225 W. Glendale Ave., Suite A-104
 7   Phoenix, AZ 85051
     Email: adam@hauflaw.com
 8   Attorney for Debtor
 9   Office of U.S. Trustee
     230 North First Avenue
10   Phoenix, AZ 85003
     Email: Larry.Watson@usdoj.gov
11
     By /s/ Stephanie Anderson
12

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